       Case 19-40284                Doc 10          Filed 03/12/19 Entered 03/12/19 15:13:12                              Main Document
                                                                  Pg 1 of 14

  Fill in this information to identify your case:
  Debtor 1             Philip                Robert                 Gawlak
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

  Case number          19-40284                                                                                         Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                    $250.00           $250.00                $0.00
City of St. Louis Collector
Priority Creditor's Name                                   Last 4 digits of account number        6     2    0      2
1200 Market Street, Rm. 12                                 When was the debt incurred?          2017
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
St. Louis                       MO      63103                  Disputed
City                            State   ZIP Code
Who incurred the debt?        Check one.                   Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
       Case 19-40284          Doc 10           Filed 03/12/19 Entered 03/12/19 15:13:12                              Main Document
                                                             Pg 2 of 14

Debtor 1       Philip Robert Gawlak                                                     Case number (if known)       19-40284

  Part 1:        Your PRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the                       Total claim       Priority       Nonpriority
previous page.                                                                                                    amount         amount


   2.2                                                                                                $852.86          $852.86          $0.00
IRS
Priority Creditor's Name                              Last 4 digits of account number       6     2    0      2
P.O. Box 7346                                         When was the debt incurred?        2017
Number       Street
                                                      As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
Philadelphia               PA      19101-7346             Disputed
City                       State   ZIP Code
Who incurred the debt?        Check one.              Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes

   2.3                                                                                                $469.38          $469.38          $0.00
St. Louis City Collector of Revenue
Priority Creditor's Name                              Last 4 digits of account number       6     2    0      2
Room 410 City Hall                                    When was the debt incurred?        2018
Number       Street
1200 Market Street                                    As of the date you file, the claim is: Check all that apply.
                                                          Contingent
                                                          Unliquidated
St. Louis                  MO      63103                  Disputed
City                       State   ZIP Code
Who incurred the debt?        Check one.              Type of PRIORITY unsecured claim:
     Debtor 1 only                                       Domestic support obligations
     Debtor 2 only                                       Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                          Claims for death or personal injury while you were
     At least one of the debtors and another             intoxicated
     Check if this claim is for a community debt         Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
       Case 19-40284               Doc 10           Filed 03/12/19 Entered 03/12/19 15:13:12                                Main Document
                                                                  Pg 3 of 14

Debtor 1       Philip Robert Gawlak                                                             Case number (if known)      19-40284

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                          $9,682.00
Chase Card                                                  Last 4 digits of account number         0 1        9     7
Nonpriority Creditor's Name
                                                            When was the debt incurred?           03/2014
Po Box 15298
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Wilmington                      DE      19850
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $3,000.00
Chase Cardmember Services                                   Last 4 digits of account number         0 4        7     0
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2012
P.O. Box 15298
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Wilmington                      DE      19850-5298
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Business Debt
Is the claim subject to offset?
     No
     Yes
Debtor did not recall having this old Chase Card (was NOT on his credit report either), but believes it was used strictly for
his then-new business.




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3
       Case 19-40284              Doc 10          Filed 03/12/19 Entered 03/12/19 15:13:12                              Main Document
                                                                Pg 4 of 14

Debtor 1       Philip Robert Gawlak                                                        Case number (if known)       19-40284

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.3                                                                                                                                  $111.93
Cigna HealthCare                                         Last 4 digits of account number      1 2        5    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2018
P.O. Box 71217
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Charlotte                     NC      28272
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Insurance
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                $2,811.00
Citi                                                     Last 4 digits of account number      8 6        6    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2015
Po Box 6217
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Sioux Falls                   SD      57117
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4
       Case 19-40284               Doc 10         Filed 03/12/19 Entered 03/12/19 15:13:12                              Main Document
                                                                Pg 5 of 14

Debtor 1       Philip Robert Gawlak                                                        Case number (if known)       19-40284

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.5                                                                                                                                $2,997.00
Personal Finance/marin                                   Last 4 digits of account number      4 2        2    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2017
P.o. Box 43490
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Baltimore                     MD      21236
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes
Case No.: 1822-AC14407
   4.6                                                                                                                                $1,967.00
Syncb/amazon                                             Last 4 digits of account number      9 9        2    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2011
Po Box 965015
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5
       Case 19-40284              Doc 10          Filed 03/12/19 Entered 03/12/19 15:13:12                              Main Document
                                                                Pg 6 of 14

Debtor 1       Philip Robert Gawlak                                                        Case number (if known)       19-40284

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                   Total claim
previous page.

   4.7                                                                                                                                $3,889.00
Umb Ccprog                                               Last 4 digits of account number      7 7        8    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2007
Po Box 419734
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Kansas City                   MO      64141
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                $7,278.00
Us Bank                                                  Last 4 digits of account number      2 0        8    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2015
4325 17th Ave S
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Fargo                         ND      58125
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6
       Case 19-40284             Doc 10         Filed 03/12/19 Entered 03/12/19 15:13:12                             Main Document
                                                              Pg 7 of 14

Debtor 1       Philip Robert Gawlak                                                        Case number (if known)    19-40284

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


Miller and Steeno, P.C.                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
11970 Borman Drive, Suite 250                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Attorney for Personal               Part 2: Creditors with Nonpriority Unsecured Claims
                                                            Finance
                                                            Last 4 digits of account number       4    4    0    7
St. Louis                       MO      63146
City                            State   ZIP Code


Missouri Department of Revenue                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Division of Taxation                                        Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number       Street                                         Missouri Income Taxes
P.O. Box 385                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number       6    2    0    2
Jefferson City                  MO      65105-0385
City                            State   ZIP Code




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                             page 7
     Case 19-40284                Doc 10        Filed 03/12/19 Entered 03/12/19 15:13:12                              Main Document
                                                              Pg 8 of 14

Debtor 1       Philip Robert Gawlak                                                     Case number (if known)        19-40284

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.              $1,572.24

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.              $1,572.24




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $31,735.93


                   6j.   Total.   Add lines 6f through 6i.                                            6j.             $31,735.93




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                      page 8
     Case 19-40284                       Doc 10              Filed 03/12/19 Entered 03/12/19 15:13:12                                                       Main Document
                                                                           Pg 9 of 14

 Fill in this information to identify your case:
 Debtor 1                Philip                        Robert                        Gawlak
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

 Case number             19-40284                                                                                                                         Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                              $40,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                         $10,913.19
     1b. Copy line 62, Total personal property, from Schedule A/B...................................................................................................................................................


                                                                                                                                                                              $50,913.19
     1c. Copy line 63, Total of all property on Schedule A/B..............................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                            $80,140.51
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                          $1,572.24
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $31,735.93
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $113,448.68




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $3,239.28
     Copy your combined monthly income from line 12 of Schedule I.................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $3,361.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
     Case 19-40284               Doc 10         Filed 03/12/19 Entered 03/12/19 15:13:12                              Main Document
                                                             Pg 10 of 14

Debtor 1      Philip Robert Gawlak                                                         Case number (if known)     19-40284


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $2,650.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                   $1,572.24

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00

     9d. Student loans. (Copy line 6f.)                                                                                $0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.    Add lines 9a through 9f.                                                                      $1,572.24




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
    Case 19-40284                 Doc 10     Filed 03/12/19 Entered 03/12/19 15:13:12                          Main Document
                                                          Pg 11 of 14

 Fill in this information to identify your case:
 Debtor 1           Philip               Robert              Gawlak
                    First Name           Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name         Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF MISSOURI

 Case number        19-40284                                                                                 Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Philip Robert Gawlak                             X
        Philip Robert Gawlak, Debtor 1                         Signature of Debtor 2

        Date 03/12/2019                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                         Declaration About an Individual Debtor's Schedules                                        page 1
       Case 19-40284         Doc 10      Filed 03/12/19 Entered 03/12/19 15:13:12                    Main Document
                                                      Pg 12 of 14
                                      UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF MISSOURI
                                              ST. LOUIS DIVISION
  IN RE:   Philip Robert Gawlak                                                     CASE NO      19-40284

                                                                                   CHAPTER       7
                                                    AMENDED 3/12/2019
                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/12/2019                                           Signature    /s/ Philip Robert Gawlak
                                                                     Philip Robert Gawlak



Date                                                     Signature
Case 19-40284   Doc 10   Filed 03/12/19 Entered 03/12/19 15:13:12   Main Document
                                      Pg 13 of 14

                          Achieve Wellness, LLC
                          4242 Telegraph Road
                          St. Louis, MO 63129



                          Chase Card
                          Po Box 15298
                          Wilmington, DE 19850



                          Chase Cardmember Services
                          P.O. Box 15298
                          Wilmington, DE 19850-5298



                          Cigna HealthCare
                          P.O. Box 71217
                          Charlotte, NC 28272



                          Citi
                          Po Box 6217
                          Sioux Falls, SD 57117



                          City of St. Louis Collector
                          1200 Market Street, Rm. 12
                          St. Louis, MO 63103



                          IRS
                          P.O. Box 7346
                          Philadelphia, PA 19101-7346



                          Miller and Steeno, P.C.
                          11970 Borman Drive, Suite 250
                          St. Louis, MO 63146



                          Missouri Department of Revenue
                          Division of Taxation
                          P.O. Box 385
                          Jefferson City, MO 65105-0385
Case 19-40284   Doc 10   Filed 03/12/19 Entered 03/12/19 15:13:12   Main Document
                                      Pg 14 of 14

                          MSD
                          P.O. Box 437
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                          St. Louis City Collector of Revenue
                          Room 410 City Hall
                          1200 Market Street
                          St. Louis, MO 63103


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                          Orlando, FL 32896



                          Umb Ccprog
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                          Kansas City, MO 64141



                          Us Bank
                          4325 17th Ave S
                          Fargo, ND 58125



                          Wells Fargo Dealer Svc
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